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 8                                    IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           Case No. 1:16-CR-00123-DAD-BAM-3

12                                       Plaintiff,       FINAL ORDER OF FORFEITURE

13                               v.

14    FELIX GAGO,

15                                       Defendant.

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17             WHEREAS, on November 16, 2017, the Court entered a Preliminary Order of

18    Forfeiture, pursuant to the provisions of 21 U.S.C. § 853(a), based upon the plea agreement

19    and stipulation and application for preliminary order of forfeiture entered into between

20    plaintiff and defendant Felix Gago, forfeiting to the United States the following property:

21                      a. Approximately $5,069.00 in U.S. Currency.

22             AND WHEREAS, beginning on November 17, 2017, for at least 30 consecutive days, the

23    United States published notice of the Court’s Order of Forfeiture on the official internet

24    government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of

25    their right to petition the Court within sixty (60) days from the first day of publication of the

26    notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

27    property;

28    ///
     FINAL ORDER OF FORFEITURE                           1
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 1             AND WHEREAS, the United States sent direct written notice by certified mail to the

 2    following individuals known to have an alleged interest in the above-described property:

 3                      a. Denise Castillo

 4             AND WHEREAS, the Court has been advised that no third party has filed a claim to the

 5    subject property and the time for any person or entity to file a claim has expired;

 6             Accordingly, it is hereby ORDERED and ADJUDGED:

 7             1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of

 8    America all right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be

 9    disposed of according to law, including all right, title, and interest of Felix Gago and Denise

10    Castillo.

11             2.       All right, title, and interest in the above-listed property shall vest solely in the

12    name of the United States of America.

13             3.       The United States Marshals Service shall maintain custody of and control over the

14    subject property until it is disposed of according to law.

15    IT IS SO ORDERED.
16
          Dated:       February 22, 2018
17                                                              UNITED STATES DISTRICT JUDGE

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     FINAL ORDER OF FORFEITURE                              2
